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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL


Case No.          CV 15-3981-CBM(RAOx)                                            Date     JANUARY 11, 2016


Title    TIA REGANYAN v. CHASE BANK USA, N. A..,


Present: The Honorable          CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE


                  YOLANDA SKIPPER                                              NOT REPORTED
                      Deputy Clerk                                               Court Reporter


                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                         None Present                                            None Present


Proceedings:          (IN CHAMBERS)          ORDER AND NOTICE TO ALL PARTIES

        Counsel are hereby notified that pursuant to the stipulation for dismissal with prejudice filed on
        December 11, 2015 [18], this case is now dismissed with prejudice and closed.

        All pending hearings are now taken off calendar.

        IT IS SO ORDERED.




        CV-90                                       CIVIL MINUTES - GENERAL           Initials of Deputy Clerk YS
